                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                   KNOXVILLE DIVISION

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                                                                  :
  LEWIS COSBY, KENNETH R. MARTIN, as                              : No. 3:16-cv-121
  beneficiary of the Kenneth Ray Martin Roth IRA,                 :
  and MARTIN WEAKLEY on behalf of themselves :
  and all others similarly situated,                              :
                                                                  :
                                      Plaintiffs,                 :
                                                                  :
                             v.                                   :
                                                                  :
  KPMG LLP,                                                       :
                                                                  :
                                      Defendant.                  :
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       KPMG LLP’S MOTION TO DISMISS THE SECOND AMENDED COMPLAINT

           KPMG LLP (“KPMG”) moves the Court, pursuant to Federal Rule of Civil Procedure

  12(b)(6), to dismiss the Second Amended Class Action Complaint. First, the claims asserted

  under Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) on behalf of

  purchasers of the common stock of Miller Energy Resources, Inc. (“Miller Energy” or the

  “Company”)—Counts One and Two—must be dismissed because: (1) Plaintiffs have not alleged

  facts giving rise to the “strong” inference of scienter required by the Private Securities Litigation

  Reform Act (the “PSLRA”), 15 U.S.C. §78u4(b)(3)(A), (2) Plaintiffs have not pleaded loss

  causation, and (3) the claims, filed more than two years after discovery of the relevant facts, are

  time-barred. Also, Count One fails because Plaintiffs have not pleaded an actionable

  misstatement of opinion under Omnicare, Inc. v. Laborers District Counsel Construction

  Industry Pension Fund, 135 S. Ct. 1318 (2015), and Count Two fails because Plaintiffs have not




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  alleged an actionable “scheme” under Stoneridge Investment Partners, LLC v. Scientific-Atlanta,

  Inc., 552 U.S. 148 (2007).

           Second, the claim asserted under Section 11 of the Securities Act of 1933 (the

  “Securities Act”) by a new plaintiff (Martin Weakley) on behalf of a proposed class of preferred

  stock purchasers—Count Three—also must be dismissed. First, Mr. Weakley did not apply to

  serve as lead plaintiff and is not authorized to assert claims on behalf of preferred shareholders;

  the plaintiffs in Gaynor v. Miller were appointed lead plaintiffs to represent these shareholders.

  Second, as the preferred shares at issue were bona fide offered more than three years prior to the

  filing of the complaint, the claim is barred by the three-year statute of repose. Third, as Plaintiffs

  had notice of the claim more than one year prior to asserting it, the claim is barred by the one-

  year statute of limitations. Fourth, the claim is not viable under Omnicare.

           KPMG further relies on its Memorandum of Law and the Declaration of Tera Rica

  Murdock, with accompanying exhibits, each of which is filed contemporaneously herewith.

           KPMG requests that the Court grant its motion to dismiss. Because Plaintiffs have

  already amended their complaint twice, and because the grounds for dismissal are

  insurmountable, KPMG request that dismissal be with prejudice.

  Dated: October 20, 2017

                                                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 20, 2017, a copy of the foregoing was filed electronically
  and served via the Court’s CM/ECF system on the following:

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